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 3   (916) 443-7141
 4   Attorney for defendant,
     RICK VILLEGAS
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 6
                        IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                                 EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,           )                 No. CRS 08 0294 EJG
                                         )
10               Plaintiff,              )                 STIPULATION AND
                                         )                 ORDER CONTINUING DATE FOR
11                                       )                 JUDGMENT AND SENTENCING
                                         )
12         v.                            )
                                         )
13   RICK VILLEGAS,                      )
                                         )
14               Defendant.              )
     ____________________________________)
15
            This matter is now set for judgment and sentencing on July 22, 2011. Defense counsel is
16
     presently in trial in People v. Ramirez (Sacramento Superior Court No. 09F04168), a state gang
17
     murder prosecution. The trial is expected to last for most of the month of July 2011. To afford
18
     the probation officer and defense counsel additional time to prepare, it is hereby stipulated that
19
     judgment and sentencing be continued to August 26, 2011.
20
            The parties hereby agree to the following schedule concerning the presentence
21
     investigation report:
22
            7/22/11          Draft Presentence Investigation Report Due to Counsel
23
            7/29/11          Informal Objections to Draft Presentence Report Distributed
24                           To Counsel and Probation Officer
25          8/5/11           Presentence Investigation Report Filed with Court and
                             Disclosed to Counsel
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 1           8/12/11         Motion for Correction of Presentence Report Filed With
                             Court and Served on the Probation Officer and Counsel
 2
             8/19/11         Reply, or Statement of Non-Opposition
 3
 4
 5   DATED: July 1, 2011                          /s/ Tim Warriner, Attorney for defendant,
                                                  RICK VILLEGAS
 6
     DATED: July 1, 2011                          /s/ Russell Carlberg, Assistant United
 7                                                States Attorney
 8
 9
                                                  ORDER
10
             IT IS HEREBY ORDERED that the date for judgment and sentencing be continued to
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     August 26, 2011 at 10:00 a.m., and that the July 22, 2011 date be vacated. The court adopts the
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     schedule concerning the Presentence Investigation Report as set forth above pursuant to the
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     stipulation of the parties.
14
     DATED: July 5, 2011                          /s/ Edward J. Garcia
15                                                UNITED STATES DISTRICT JUDGE
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